Case 1:10-cr-00701-ILG          Document 105          Filed 01/24/13   Page 1 of 6 PageID #: 490



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                        Plaintiff,                            MEMORANDUM AND ORDER
                                                              10 CR 701 (ILG)
        -against-

CHRISTIAN AMAUKWU,

                        Defendant.
--------------------------------------------------X
GLASSER, United States District Judge:

        An earlier Memorandum and Order (M&O), Dkt. #101, familiarity with which is

assumed, was issued on December 28, 2012 prior to the receipt of the defendant's Reply

submitted as required by a scheduling order. After receiving the aforementioned M&O,

the defendant, noting its premature issuance, requested the Court to reconsider it in a

letter dated January 3, 2013, Dkt. #103. What follows is the reconsideration requested.

        As was noted in the first M&O, the defendant pleaded guilty to an indictment

which charged him in Count One with conspiracy to commit wire fraud and in Count

Two with aggravated identity theft. The latter crime was punishable by a mandatory

minimum sentence of imprisonment for two years to be imposed consecutively to any

other sentence simultaneously imposed. The sentence on the conspiracy count advised

by the United States Guidelines was 78 to 97 months to which was required to be added

the mandatory 24 months for aggravated identity theft. In addition, the defendant was

required by statute to make restitution to the victims of his conspiracy offense in the

amount of $1,741,822.38. The Court downwardly departed considerably in sentencing

this defendant on July 31, 2012, as reflected in the transcript ofthe sentencing

proceeding as follows:
Case 1:10-cr-00701-ILG      Document 105         Filed 01/24/13   Page 2 of 6 PageID #: 491



             Now, with respect to that [count one] I'm going to commit
             Mr. Amaukwu to the custody of the Attorney General for a
             period of 18 months to be followed by five years of
             supervised release. And with respect to count two, I'm going
             to sentence Mr. Amaukwu to 12 months of supervised release
             to run consecutively. There is a special assessment- - and
             one year of supervised release which will be concurrent.
             Now, that's a modification of a mandatory two years that
             should run consecutively.


      The Judgment entered on July 9, 2012, Dkt. #93, correctly read that the

defendant was "to be imprisoned for a total term of eighteen (18) months on Count (1)

and twelve months on Count (2). The sentences are to run consecutively for a total term

ofthirty (30) months."

       Relying on the general rule that given a conflict between the unambiguous oral

pronouncement and the written judgment and commitment, the oral pronouncement

prevails. Amaukwu moved this Court for a further reduction of his sentence, from 30 to

18 months. He also buttresses his claim for the reduction by an extended discussion of

Fed. R. Cr. P. 36 in both his initial motion and his motion for reconsideration. He

references many cases which recite the principle that Rule 36 autllorizes a Court to

correct only clerical errors in transcribing a judgment of the sort a clerk or an

amanuensis might make. An amanuensis is "one employed to write from dictation."

United States v. Burd, 86 F.3d 285, 288 (2d Cir. 1996).

       I summarily denied his motion in my first M&O as being plainly a lapsus linguae,

that I was driven to conclude for three reasons: 1) A sentence of supervised release not

preceded by a sentence of imprisonment is a brutum fulmen, an inert thunder, a legal

nullity. A term of supervised release can only be imposed after imprisonment as 18


                                             2
Case 1:10-cr-00701-ILG      Document 105         Filed 01/24/13   Page 3 of 6 PageID #: 492



U.S.C. § 3583(a) makes explicitly clear; 2) supervised release and probation being

virtually synonymous in all respects, a person convicted of aggravated identity theft,

requiring a mandatory consecutive term of imprisonment for two years, is precluded

from being placed on probation by the express terms of 18 U.S.C. § 1038A(b)(1); and 3)

terms of supervised release cannot be directed to run consecutively. 18 U.S.C. § 3624(e)

see also 18 U.S. C. § 3564(b).

       An examination of the docket sheet reveals that on July 31, 2012, the day tile

sentence was imposed, the Minute Entry in Docket No. 92 reads in relevant part:

"Count(s) 1s, Deft receives 18 mos. IMPRISONMENT, followed by 5 yrs. SUPERVISED

RELEASE (terms to run concurrently on counts 1 and 2). TOTAL SPECIAL

ASSESSMENT: $200 ($too per Count). RESTITUTION in the amount of

$1,741,822.38,joint and several w/co-defts. Count(s) 2s. Deft receives 12 mos.

IMPRISONMENT-terms to run consecutively to terms imposed on count 1 for a total

term of 30 mos .. followed by 1 yr. SUPERVISED RELEASE." (emphasis mine).

       Rule 36 permits a Court to at any time "correct a clerical error in a ... part of the

record .... " The case cited most often in support of that determination is United States

v. Werber, 51 F.3d 342, 347 n.13 (2d Cir. 1995). Following a recognition of the rule

favoring the oral sentence over the written one and a brief consideration of Rule 36, the

Court noted:



               That is not to say, however, that a court cannot correct an
               error in the oral sentence itself, where the error appears
               clearly and unambiguously on the face of the record and is
               nothing more than a slip of the tongue.


                                             3
Case 1:10-cr-00701-ILG       Document 105         Filed 01/24/13   Page 4 of 6 PageID #: 493



That observation is exquisitely applicable here. See also United States v. Jackson, 111

F.3d 124 (2d Cir. 1997); United States v. Jiminez, 1999 WL 1125112 (S.D.N.Y. 1999).

       I am aware of the advisability against making a fortress out of the dictionary,

Cabell v. Markham, 148 F.2d 737, 739 (2d Cir. 1945) (Hand, L.), affd. 326 U.S. 404

(1945), but on the facts of this case, resort to the dictionary is particularly appropriate.

Webster's Third International Dictionary defines "ambiguity" as "uncertainty of

meaning in relation to something." In relation to sentencing, imposing a term of

supervised release simpliciter, not preceded by a term of imprisonment is more than

uncertain of meaning, it is a legal nullity 18 U.S.C. § 3583(a). The OED online defines

"ambiguous" as "admitting of more than one explanation;" "doubtful." The ambiguity of

the recorded imposition of sentence thus appears clearly on its face and is "nothing more

than a slip of the tongue." To decide otherwise on this record would require a judge to

obtain and read the transcript of every sentencing proceeding to assure that he didn't

misspeak before signing a judgment and commitment order. That a judge may depart

from even the clearest statute or rule when to apply it would produce an absurd result

has long been recognized. See Manning, The Absurdity Doctrine, 116 Harv. L. Rev. 2387

(2003). Giving the written judgment precedence over the oral declaration in this case

would clearly produce an absurd result for the three reasons stated in my first M&O.

       The Court misspoke, the denial of his motion to reduce his sentence for the

reasons stated in the first M&O is reaffirmed and his motion for reconsideration is

denied.

       It is interesting to contemplate the consequences of a remand for resentencing

that would require "further proceedings to be held as may be just under the

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Case 1:10-cr-00701-ILG       Document 105        Filed 01/24/13   Page 5 of 6 PageID #: 494



circumstances," if the oral sentence were to prevail. 28 U.S.C. § 2106. The resentence

required could only be to ignore the legally impossible "12 months of supervised release

to run consecutively" leaving a sentence of 18 months which, in the language of current

guideline sentencing jurisprudence, would on the facts of this case, be "unreasonable"

and give Mr. Amaukwu an undeserved windfall. A result that would not be just under

the circumstances.
       In United States v. Weathers, 631 F.3d 560, 561-62 (D.C. Cir. 2011), the court

wondered why the court's oral pronouncement takes precedence over its written

judgment if the concern for accuracy was the rationale for the Rule. It wrote: "It is

commonly understood that the written word is usually more precise than the spoken

word. The writer can be more deliberate and careful in his choice of language, he can

edit his writing before publishing it and he may have more time to formulate what he

wishes to convey." The court then proceeded to contemplate possible theories

supporting the Rule, for example: (1) effectuating the written judgment might be

sentencing defendant in absentia; (2) the oral sentence is the actual judgment of the

court and the written judgment merely evidence of it (interior citations omitted.) The

latter theory is then regarded as unpersuasive, citing Rule 32(k) Fed. R. Cr. P. and Fed.

R. App. P. 4(b)(1)(A). See also United States v. Cephus, 684 F.3d 703, 709-10 (7'h Cir.

2012). The discussion in Weathers recalls the observation of Justice Holmes dissenting

in Hyde v. United States, 225 U.S. 347 at 391 (1912): "It is one ofthe misfortunes ofthe

law that ideas become encysted in phrases and thereafter for a long time cease to

provoke further analysis."

       In the light of this motion, the Court feels constrained to add that when the

                                             5
Case 1:10-cr-00701-ILG       Document 105         Filed 01/24/13   Page 6 of 6 PageID #: 495



defendant pleaded guilty he acknowledged being advised and understood that the crime

of aggravated identity theft charged in Count Two carried with it a mandatory sentence

of two years required to run consecutively to Count One and that a one year term of

supervised release may be added to the sentence. Tr. at 14.

         For all of the foregoing reasons, the motion for reconsideration is Denied.

         SO ORDERED.

Dated:         Brooklyn, New York
               January 23, 2013




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